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               Exhibit A
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From:            Jones, Reginald (CRM)
To:              "Whitney Bernstein"
Cc:              Tom Bienert; Toni Thomas
Subject:         RE: Updated Exhibit List with Bates Numbers
Date:            Friday, May 31, 2019 8:07:20 PM
Attachments:     DWT september 2017 letter to government.pdf
                 May 2018 discovery transmittal letter.pdf


Hi Whitney:

It’s a bit surprising that your firm was not aware of the source of the DOJ-AZGJ docs as Defendant
Larkin is being jointly represented in this case by your firm and the firm Davis Wright Tremaine. DWT
represented Backpage in the Arizona GJ litigation (and has been representing the BP Defendants in
various civil and criminal litigation since 2012) and was compelled to produce to the government
the DOJ-AZGJ Bates labeled docs. DWT Bates labeled the docs beginning in DOJ-AZGJ and turned
them over to us in September 2017. See the attached letter from DWT to the government.
Additionally, the discovery documents DWT Bates labeled with beginning prefix DOJ-AZGJ are clearly
labeled next to the DOJ-BP Bates number in the discovery we produced to your firm than a year ago
with accompanying indexes USAO 108 Subpoena and USAO Subpoena Supplemental (DWT was
compelled to comply with USAO 108 Subpoena which is why the indexes are labeled as such.) See
May 2018 discovery transmittal letter from the government to your firm attached. In addition, Dan
Quigley (who appears to be some type of consulting attorney for Larkin and Lacey) was also
presumably familiar with this discovery and he has represented Lacey and Larkin in some type of
capacity since 2015. As you know, he has been present for court appearances and on telephonic
conferences pertaining to discovery in this case.

As to your second question, the government will be providing an update regarding the Backpage
servers shortly.

Best,
Reggie



From: Whitney Bernstein [mailto:wbernstein@bienertkatzman.com]
Sent: Wednesday, May 29, 2019 8:42 PM
To: Jones, Reginald (CRM) <Reginald.Jones@CRM.USDOJ.GOV>
Cc: Tom Bienert <tbienert@bienertkatzman.com>; Toni Thomas <tthomas@bienertkatzman.com>
Subject: RE: Updated Exhibit List with Bates Numbers

Reggie:

Thank you for sending that promised list, and we look forward to hearing from the government with
the outstanding identifications. Thank you as well for clarifying the Bates labeling, especially as we
were not aware of the source of the documents. Please advise which discovery production contains
the documents labeled DOJ-AZGJ. As the government well knows, our firm did not come into this
case until May 2018 and was not involved in any discovery productions to the government or related
litigation prior to that date.
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Relatedly, as I’m sure you saw in my email to you earlier today, please advise as to whether you have
the outstanding approximately 60 servers from Amsterdam.

Thank you,

Whitney

Whitney Z. Bernstein | Attorney
Bienert | Katzman PC
Tel.: (949) 369-3700
www.bienertkatzman.com



From: Jones, Reginald (CRM) <Reginald.Jones4@usdoj.gov>
Sent: Wednesday, May 29, 2019 2:55 PM
To: Paul Cambria <pcambria@lglaw.com>; Tom Bienert <tbienert@bienertkatzman.com>; Ariel A.
Neuman <aneuman@birdmarella.com>; Bruce Feder <bf@federlawpa.com>; Whitney Bernstein
<wbernstein@bienertkatzman.com>; Erin E. McCampbell (emccampbell@lglaw.com)
<emccampbell@lglaw.com>; 'gpanchapakesan@birdmarella.com'
(gpanchapakesan@birdmarella.com) <gpanchapakesan@birdmarella.com>;
glincenberg@birdmarella.com; 'joyous@mailbag.com' <joyous@mailbag.com>;
'david@deisenbergplc.com' <david@deisenbergplc.com>
Cc: Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>; Perlmeter, Margaret (USAAZ)
<Margaret.Perlmeter@usdoj.gov>; Kozinets, Peter (USAAZ) <Peter.Kozinets@usdoj.gov>; Stone,
Andrew (USAAZ) <Andrew.Stone@usdoj.gov>; Kucera, John (USACAC) <John.Kucera@usdoj.gov>
Subject: RE: Updated Exhibit List with Bates Numbers

Dear Counsel:

Please find attached an updated and revised preliminary exhibit list with DOJ-BP Bates
numbers for approximately 90% of the government’s exhibits. We’ll continue to periodically
provide you with an updated and revised preliminary exhibit list in the coming weeks. (This
will include adding DOJ-BP Bates numbers for the approximately 10% of documents that
do not already contain a DOJ-BP Bates number.)

Additionally, approximately 20 out of the nearly 1,100 exhibits contain a Bates prefix of
DOJ-AZGJ. As you are aware, documents beginning with prefix DOJ-AZGJ are documents
Backpage Defendants Bates labeled and provided to us in September 2017 and we
subsequently re-disclosed to you. (Backpage Defendants also previously provided these
documents to the U.S. Senate Permanent Subcommittee on Investigations in 2016 as part
of its investigation into Backpage.) Nevertheless, we will update the DOJ-AZGJ Bates
numbered documents on the exhibit list with the corresponding DOJ-BP Bates numbers
and provide the updated Bates numbers to you in the coming weeks.

Thanks,
Reggie
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Reginald E. Jones
U.S. Department of Justice, Criminal Division
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